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7                      IN THE UNITED STATES DISTRICT COURT
8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10   UNITED STATES OF AMERICA,     )               CASE NO. CR.S-04-118-LKK
                                   )
11                  Plaintiff,     )
                                   )               ORDER RE: STATUS CONFERENCE
12        v.                       )
                                   )
13                                 )
     DAVID C. HARRISON, et al.,    )
14                                 )
                    Defendants.    )
15   ______________________________)
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             This matter came on for a status conference on August 14,
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     2007.    The United States was represented by Assistant U.S.
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     Attorney John K. Vincent.       Defendant Robert Oliver was present
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     and was represented by Scott Tedmon, Esq..           Defendant David C.
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     Harrison was represented by Mark Reichel, Esq., appearing
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     specially for Bruce Locke, Esq.; defendant Robert G. Hodges was
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     represented by Mark Reichel, Esq.; and defendant Edwin Jensen was
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     represented by Emmett Mahle, Esq..           The last three defendants
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     were not present, having a waiver of appearance on file.
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             Having heard from the parties, and GOOD CAUSE APPEARING
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     THEREFORE, the Court sets the matter for trial to begin on
27
     November 6, 2007 at 10:30 a.m..            Trial confirmation is scheduled
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1    for October 23, 2007 at 9:30 a.m..
2         Due to his physical impairment, defendant Jensen is severed
3    from the case.   A further status conference in his case is
4    scheduled for March 11, 2008 at 9:30 a.m.
5         Time between August 14, 2007 to November 6, 2007 is excluded
6    under the Speedy Trial Act pursuant to 18 U.S.C.
7    3161(h)(8)(B)(ii)(complexity) and 3161(h)(8)(B)(iv)(time to
8    prepare), Local Codes T2 and T4, respectively.        Time as to
9    defendant Jensen is excluded from August 14, 2007 to March 11,
10   2008 for the same reasons and also under the Speedy Trial Act
11   pursuant to 18 U.S.C. § 3161(h)(4) (mental or physical
12   incompetence), Local Code N.
13

14   IT IS SO ORDERED.
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16   DATED: August 21, 2007
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